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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                            CRIMINAL ACTION
 VERSUS                                              NO:    20-55
 JASON R WILLIAMS, NICOLE E.                         SECTION: “F” (4)
 BURDETT
                                ORDER



     IT IS ORDERED that the UNITED STATES OF AMERICA'S UNOPPOSED

MOTION FOR PROTECTIVE ORDER PURSUANT TO RULE 16(d) (R. Doc. 27) is

DENIED.



                                 New Orleans, Louisiana, this 30th day of July 2020.




                                          KAREN WELLS ROBY
                               CHIEF UNITED STATES MAGISTRATE JUDGE
